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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

 ANDERSON FEDERATION OF                          )
 TEACHERS, et al.                                )
                                                 )
                            Plaintiffs,          )
                                                 )
                       v.                        )     No. 1:21-cv-01767-SEB-DML
                                                 )
 TODD ROKITA, et al.                             )
                                                 )
                            Defendants.          )


                              PRELIMINARY INJUNCTION


       The Court orders as follows:

    1) Defendant Todd Rokita, in his official capacity as Attorney General of the State of

       Indiana, and his respective agents, officers, employees, and successors, and all

       persons acting in concert with him or under his direction or control are hereby

       PRELIMINARILY ENJOINED from implementing, enforcing, administering,

       invoking, or giving any effect to Indiana Code § 20-29-5-6(c)–(d) as applied to

       existing dues deduction withholding agreements at issue in this litigation until

       after the 26th pay period of the 2020–2021 school year; and

    2) Defendant Todd Rokita, in his official capacity as Attorney General of the State of

       Indiana, and his respective agents, officers, employees, and successors, and all

       persons acting in concert with him or under his direction or control are hereby also

       PRELIMINARILY ENJOINED from enforcing Indiana Code § 20-29-5-6(c)(3) as


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        to all new dues withholding authorization forms at issue in this litigation until

        further order of the Court.

    IT IS SO ORDERED.




    Date:             6/30/2021
                 ______________________            _______________________________
                                                    SARAH EVANS BARKER, JUDGE
                                                    United States District Court
                                                    Southern District of Indiana



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